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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA
                                             Crim. No. 18-CR-32-2 (DLF)
               v.
                                             FILED UNDER SEAL
 CONCORD MANAGEMENT AND
 CONSULTING LLC,

                Defendant.



   PARTIES’ JOINT FILING REGARDING MODIFIED PROPOSED REDACTIONS
               TO THE MARCH 7, 2019 HEARING TRANSCRIPT

       Pursuant to the Court’s Minute Order of August 8, 2019, which directed the parties to

modify and re-submit their jointly proposed redactions to the transcript at docket number [110],

which includes both the sealed and unsealed portions of the March 7, 2019 hearing, Defendant

Concord Management and Consulting, LLC (“Defendant” or “Concord”) and the United States

(collectively, the “Parties”), by and through counsel, submit this joint filing.

       The parties hereby submit that the modified proposed redactions attached to this pleading

as Exhibit A are now limited to discussions of (a) the contents or handling of sensitive discovery

materials, and (b) discussions of sensitive law enforcement techniques that are more detailed than

anything discussed in any public filings or transcripts; therefore, the parties have asked that the

Court approve these redactions in order to enforce the provisions of and to protect the interests of

the Protective Order that the Court has entered (and is in the process of modifying) in this case.

Because such redactions would protect the interests embodied in the Protective Order, the parties

submit that permitting these redactions and continued sealing would be an appropriate exercise of

the Court’s inherent power to seal court filings. See United States v. Hubbard, 650 F.2d 293, 315-




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16 (D.C. Cir. 1980) (citing Nixon v. Warner Communications, Inc., 435 U.S. 589, 598 (1978)).

With these proposed redactions, the parties do not object to publicly docketing the transcript,

including the portion that was previously under seal.

          WHEREFORE, the parties ask that the Court permit the parties’ proposed redactions and

give the parties leave to make the proposed redactions and file those redactions publicly on the

docket.



                                      Respectfully submitted,


JOHN C. DEMERS                                             JESSIE K. LIU
Assistant Attorney General for National Security           United States Attorney

By:      /s/                                               By:      /s/
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                                CERTIFICATE OF SERVICE

       I hereby certify that on August 8, 2019, I caused a copy of the foregoing motion to seal to

be transmitted to Katherine Seikaly and Eric Dubelier, counsel of record for Concord

Management and Consulting LLC, via email.


                                                            By:       /s/
                                                            Kathryn L. Rakoczy
                                                            Assistant United States Attorney
                                                            555 Fourth Street NW
                                                            Washington D.C. 20530




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